             Case 1:13-cv-01817-MHC Document 246-1 Filed 05/01/19 Page 1 of 1


                                    DETROIT MEMORIAL PARTNERS, LLC
                          SCHEDULE OF RECEIVER'S RECEIPTS AND DISBURSEMENTS
                                             FIRST QUARTER 2019
                            Receivership; Civil Court Docket No. 1:13-CV-01817-MHC


                                                                   DMP Escrow Account
Beginning Balance 01/01/19:                                             $85,287.65
                                                                                  Receivership
Receipts:                                                Q1 2019             Through End of Q1 2019

Third-Party Litigation Income                                       $0.00                 $7,836,363.00


Proceeds from Sale of Receivership Property                         $0.00                 $7,919,425.00

Interest Earned                                                    $20.31                    $35,606.50

Disbursements:

Distributions to Claimants                                      $3,860.30                $12,691,418.00

Interest Disbursed to Georgia Bar Foundation per
IOLTA Rules                                                        $20.31                    $35,606.50


Court-approved Attorneys' Fees & Expenses                       $1,445.87                   $664,681.58


Court-approved Accountants' Fees & Expenses                         $0.00                   $111,882.17


Third Party Litigation Expenses                                     $0.00                   $169,600.00


Administrative Expenses                                             $0.00                     $2,947.21


Tax Payments                                                        $0.00                    $14,586.51

Bank Fees                                                           $0.00                       $153.00
MMG Capital Call                                                    $0.00                 $1,852,000.00

Ending Balance 03/31/19                                                 $79,981.48
